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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

 Jawanda Dove,                                           CASE NO.: 3:20-cv-547-J-34MCR

          Plaintiffs,
 v.
 Flagler County School Board,

          Defendant.
                                                 /

              NOTICE OF FILING DATES FOR SETTLEMENT CONFERENCE

          COMES NOW, BLAIR T. JACKSON who hereby files this submits this Notice of Filing
 Dates for Settlement Conference, and in furtherance thereof states as follows:

         1.       That after conferring with counsel for the Defendant, we hereby offer these three

mutually agreeable dates for settlement conference:

              a) February 23, 2023

              b) March 30, 2023

              c) March 31, 2023


                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy and accurate copy of the foregoing has been

 furnished by via the Florida Courts e-Filing Portal to Dylan J. Hall, Esq., Bush & Augspurger,

 P.A., 411 E. Jackson St., Orlando, FL 32801 (lja@bushlawgroup.com), on this 27th day of January,

 2023.

                                                               /s/ Blair T. Jackson
                                                               BLAIR T. JACKSON
                                                               Florida Bar Number: 912956
                                                               bjackson@dsklawgroup.com
                                                               de Beaubien, Simmons, Knight,
                                                                 Mantzaris & Neal, LLP
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